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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: CATHODE RAY TUBE (CRT)                   MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

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                                           This Order Relates To:                          ORDER REGARDING
                                  10                                                       SUPPLEMENTAL BRIEFING ON
                                                                                           MOTIONS FOR SUMMARY
                                  11       ALL ACTIONS                                     JUDGMENT
                                  12
Northern District of California
 United States District Court




                                  13             The Court has discovered that several motions for summary judgment require

                                  14   supplemental briefing. For some, the need may not be obvious. See ECF No. 4219 (soliciting

                                  15   comment on the need for supplemental briefing regarding the Foreign Trade Antitrust

                                  16   Improvement Act). For others, the need may be plainer, such as where a party claimed that its

                                  17   motion or response was incomplete due to discovery which, for whatever reason, was scheduled to

                                  18   be completed after a filing deadline. See, e.g., ECF Nos. 3257, 3253. In such instances, counsel

                                  19   should be able readily to determine whether further evidence has become available, whether a

                                  20   given motion or opposition is still well founded,1 and whether supplemental briefing would assist

                                  21   the Court.

                                  22             The Direct Action Plaintiffs ("DAPs") and the defendants in the DAP cases who have

                                  23   moved for summary judgment are ordered to meet and confer regarding whether any party should

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                                         For example, in their opposition to the Mitsubishi U.S. Defendants’ motion for summary
                                  26   judgment, the Direct Action Plaintiffs requested that they be permitted to finish discovery but
                                       acknowledged that, at the time of the making of that request, they were “not presently aware [of]
                                  27   evidence which may be set forth in opposition to the Mitsubishi U.S. Defendants’ Motion
                                       regarding their participation in the conspiracy[.]” ECF No. 3257 at 3. Presumably, if further
                                  28   discovery has not revealed such evidence, the Direct Action Plaintiffs will dismiss their claims
                                       against these defendants.
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                                   1   file a supplemental brief in support of, or in opposition to any pending motion for summary

                                   2   judgment; a schedule for the filing of such briefs and the responses to them; and the page limits

                                   3   that should apply. The Court will discuss this issue at the December 15, 2015 Case Management

                                   4   Conference and, based on that discussion, if it determines that further briefing is appropriate, will

                                   5   order the parties to submit a (hopefully stipulated) proposed schedule shortly thereafter.

                                   6          IT IS SO ORDERED.

                                   7   Dated: December 9, 2015
                                                                                        ______________________________________
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                                                                                                      JON S. TIGAR
                                   9                                                            United States District Judge

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Northern District of California
 United States District Court




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